      Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 1 of 16



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                      X
UNITED STATES OF AMERICA,

                         Plaintiff,

                                                 11 CR 111 (NRB)
             -against-


ALWAR POURYAN, ET AL.

                     Defendants.
                                      -X




 MEMORANDUM OF LAW OF DEFENDANT ALWAR POURYAN IN SUPPORT OF
   HIS MOTION TO DISMISS THE INDICTMENT AND FOR OTHER RELIEF




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  Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 2 of 16



                           TABLE OF CONTENTS

I. Introduction                                                               1
II. Factual Background                                                        2
III. Argument                                                                 3

   A. THE INDICTMENT SHOULD BE DISMISSED FOR LACK OF
      JURISDICTION                                                            3

              1. The government improperly manufactured jurisdiction in the
                 United States                                                4

              2. U.S. v. Al Kassar is distinguishable from this case          7

   B. SURPLUSAGE MUST BE STRICKEN FROM THE INDICTMENT                         8

   C. PURSUANT TO FED. R. EVID. 403 AND 404 CERTAIN ITEMS OF
      EVIDENCE SHOULD BE DISCLOSED TO THE DEFENSE ONE MONTH IN
      ADVANCE OF ANY TRIAL DATE                              9

   D. THE GOVERNMENT SHALL BE REQUIRED TO PROVIDE BRADY
      MATERIAL AS REQUESTED HEREIN                                            9



CONCLUSION AND PRAYER FOR RELIEF                                              14
         Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 3 of 16



       The Defendant, Alwar Pouryan (the "Defendant" or "Pouryan"), by and

through his attorneys, files this Memorandum of Law in support of his Motion to Dismiss the

Indictment and for Other Relief.

                                       I. INTRODUCTION

       While the Supreme Court of the United States is cautioning against expanding the

extraterritorial application of the United States laws', U.S. law enforcement agencies are

increasingly expanding their activities operating undercover outside of the United States. As in

this case, the DBA agents travel across the globe to perform the function of the world's police.

American citizens and foreign nationals, subsequently brought to the United States, face harsh

criminal charges. The government, in acting in this manner, is empowered by avoiding the

consequences of American Constitutional protections in conducting its overseas operations.

       The defendant moves for dismissal on the grounds of lack of jurisdiction of this Court

based on the legal concept of manufactured jurisdiction. The case has no connection to the

United States except for the law enforcement tactics used to create the appearance of some nexus

to this country in order to bring the charges in federal court and in this jurisdiction.




        'Morrison v. Nat'l Austl. Bank Ltd., 130 S. Ct. 2869, 2892 (U.S. 2010) ("The
presumption against extraterritoriality can be useful as a theory of congressional purpose, a tool
for managing international conflict, a background norm, a tiebreaker.. ..courts should 'assume
that legislators take account of the legitimate sovereign interests of other nations when they write
American laws.'") (Breyer, J., concurring) (followed in Cedeno v. Intech Group, Inc., 2010 U.S.
Dist. LEXIS 88026 (S.D.N.Y. Aug. 24, 2010)).

                                                   1
           Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 4 of 16



          The defendant also seeks additional relief: (2) an Order striking surplusage from the

Indictment; (3) an Order requiring 404(b) type evidence at least one month prior to any trial date;

(4) an Order requiring the government to provide Brady and related material;

(5) an Order permitting the Defendant to join in all motions of his co-defendants that are not

inconsistent with the relief requested herein; (6) an Order granting such other relief

as this Court deems just and proper.



                                  II. FACTUAL BACKGROUND

   Alwar Pouryan is charged in three counts of a Five Count Indictment with a Narco-Terrorism

conspiracy to supply weapons to a terrorist organization, conspiracy to provide material support to

a terrorist organization and conspiracy to acquire and transfer anti-aircraft missiles, all in violations

of various sections of Title 18 of the United States Code. The essence of the charges is that the

defendant participated in meetings with individuals posing as members, associates or procurers of

weapons for a terrorist organization, namely the TALIBAN.

          The Indictment also alleges that in December 2010 through February 2011 the defendants

discussed, procuring and selling to the purported terrorists various types of weapons including

missiles and automatic weapons. At no time were any meetings, discussions or other

communications held in the United States or in any way geographically connected to the United

States.
          Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 5 of 16




       Jurisdiction is based upon the allegation that the defendants had the above mentioned

discussions with people that they believed to be affiliated with the TALIBAN, a terrorist

organization whose activity violates the criminal laws of the United States, occurs in and affects

foreign commerce, and causes and is designed to cause death and serious bodily injury to

nationals of the United States while the nationals are outside the United States. Personal

Jurisdiction is based on the defendants having been flown from a place outside the United States

to a location in the Southern District of New York, as their first port of entry.



                                         III. ARGUMENT

  A. THE INDICTMENT SHOULD BE DISMISSED FOR LACK OF JURISDICTION

       "Federal courts are courts of limited jurisdiction. They possess only that power authorized

by Constitution and statute ... which is not to be expanded by judicial decree ... It is to be

presumed that a cause lies outside this limited jurisdiction ... and the burden of establishing the

contrary rests upon the party asserting jurisdiction." Kokkonen v. Guardian Life Ins. Co. of Am..

511 U.S. 375, 377 (1994) (internal citations omitted). The basic requirements for a constitutional

exercise of jurisdiction are minimal contacts meeting a basic test of fairness. International Shoe

Co. v. Washington. 326 U.S. 310, 316 (1945).

       Here the defendant argues that one of the three distinct theories of manufactured

jurisdiction, see United States v. Wallace. 85 F. 3d 1063, 1065-66 (2d Cir. 1996), applies to his

case. That is , the unproved-element theory wherein the government unilaterally supplies an

essential element of a crime. That essential element is the nexus of the criminal activity to the

United States, which in this case was provided solely by the agents of the United States

government for the purpose of creating "subject matter jurisdiction."
         Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 6 of 16




       1. THE GOVERNMENT IMPROPERLY MANUFACTURED JURISDICTION IN

                                    THE UNITED STATES

      The dismissal of charges based on the concept of manufactured jurisdiction was first

upheld in United States v. Archer. 486 F.2d 670 (2d Cir. 1973). The Second Circuit held that

federal jurisdiction will not lie where the government manufactures jurisdiction for the precise

purpose of creating a federal crime. Archer. 485 F.2d at 681. Archer involved a Travel Act

charge where federal agents crossed state lines to make telephone calls solely for the purpose of

creating federal jurisdiction. Id. at 681. Writing for the Second Circuit, Judge Friendly concluded

that when Congress enacted the Travel Act and federalized certain actions as crimes based upon

interstate connections, it "did not mean to include cases where the federal officers themselves

supplied the interstate element and acted to ensure that an interstate element would be present."

Id. at 682 (emphasis added). The Archer Court opined that"[manufactured federal jurisdiction is

even more offensive in criminal than in civil proceedings." Id.

         Similarly, the Fourth Circuit Court in United States v. Coates. 949 F.2d 104, 106 (4th

Cir. 1991) held that "federal jurisdiction in criminal prosecutions should not be recognized when

patently contrived by means adopted solely for the purpose of creating a federal crime. The

Fourth Circuit reversed defendant's conviction concluding that federal jurisdiction will not lie

where the sole jurisdictional link rests upon actions taken by the government to create or

manufacture a federal offense. Coates. 949 F.2d 104, 106.

       Before the decision in United States v. Al Kassar. 660 F.3d 108 (2d Cir. 2011) cases

interpreting Archer and Coates focused the question on "whether there is any link between the

federal element and a voluntary, affirmative act of the defendant" made to implicate federal

jurisdiction. United States v. Wallace. Id. at, 1066 (2d Cir. N.Y. 1996). To uphold the

jurisdiction (i) the government had to introduce a federal element into a nonfederal crime, and
          Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 7 of 16




(ii) the defendant had to take voluntary actions to implicate the federal element. Id. See, also,

United States v. LaPorta. 46 F.3d 152, 154, 160 (2d Cir. 1994) (FBI informant asked defendant,

suspected of being an arsonist, if he would set fire to the informant's "daughter's car," which was

actually a government owned car; conviction for destroying government property by fire upheld

and claim of "manufactured jurisdiction" rejected, because "the defendants themselves

committed the substantial jurisdictional act of burning the government [car]" (internal quotation

marks omitted)); United States v. Gambino. 566 F.2d 414, 41819 (2d Cir. 1977) (after

government created phony garbage collection business in the Bronx with ties to interstate

commerce, defendants tried to intimidate the business into closing shop; Hobbs Act conviction

upheld and claim of "contrived jurisdiction" rejected because "the activities of [the phony

business] were necessarily wedded to interstate commerce" and because "no one asked [the

defendant] to threaten the FBI agent [posing as the business owner] or to hit him on the head"),

cert, denied, 435 U.S. 952 (1978).

       In United States v. Lau Tung Lam. 714 F.2d 209, 210 (2d Cir.), cert, denied, 464 U.S. 942

(1983), the Second Circuit Court upheld a conviction for conspiracy to import heroin and

rejected the "manufactured jurisdiction" defense, because the defendant "himself committed the

substantial jurisdictional act of bringing drugs into the United States", (emphasis added). In Lau

Tung Lam, the government agents introduced the defendant to an undercover DEA agent, who

offered to buy 510 kilograms of high quality heroin each month for delivery in New York City.

Lau Tung Lam agreed to deliver his heroin to the DEA agent in New York. With the assistance

of Leriche and cooperating American officials, Lau received a visa to enter the United States.

Lau was arrested by federal agents when he and Leriche arrived in New York with the first

shipment of heroin.
         Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 8 of 16




       In Wallace. 85 F.3d 1063, 1066 (2d Cir. N.Y. 1996), Wallace was charged with conspiring

"to execute a scheme and artifice to defraud a financial institution, to wit, Citibank ... in that the

defendants would and did . . . wrongfully receive payment on the [stolen] checks. Although

Citibank was introduced to the scheme only because of the FBI's actions, Wallace did indeed

"execute a scheme ... to defraud .. . Citibank...""Unlike the conspirators in Archer, who never

agreed to make any interstate phone calls, Wallace and his coconspirators clearly undertook to

pressure another to withdraw money from Citibank. The jurisdictional element was therefore an

essential part of the conspiratorial agreement." Id. See also United States v. Blatter. 1997 U.S.

Dist. LEXIS 8007 (S.D.N.Y. June 6, 1997) (rejecting a manufactured jurisdiction argument

where the defendant was charged with conspiring to violate and violating the witness tampering

statute. "Even if no basis for federal jurisdiction existed until after the [government introduced

the federal element], Blatter's motion must still be denied. Blatter does not dispute that on July

16 he attempted to, and did, purchase documents from the property manager after being told on

July 15 that those documents had been subpoenaed by a federal grand jury. Those efforts

constitute 'voluntary actions that implicate the federal element... and therefore defeat Blatter's

"manufactured jurisdiction" claim." (internal citations omitted).

       In the instant matter, there are no facts asserted to show that Alwar Pouryan made "a

voluntary and affirmative act" to implicate the "federal element" of the crime. (Nor are we

currently aware of such act being taken by a co-conspirator). Accepting the facts alleged in the

Indictment as true, the conspiracy arose from the efforts of confidential sources and/or

undercover DEA agents posing as individuals affiliated with the TALIBAN to procure weapons

from the defendants. The introduction of the TALIBAN as the end purchaser or user of the

weapons was done solely to establish the federal element.
          Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 9 of 16




                      2. U.S. v. AI Kassar is distinguishable from this case

       In United States v. Al Kassar, supra defendants were charged with (1) conspiracy to kill

United States nationals in violation of 18 U.S.C. § 2332(b); (2) conspiracy to kill officers and

employees of the United States in violation of 18 U.S.C. § 1117; (3) conspiracy to acquire and

use antiaircraft missiles in violation of 18 U.S.C. § 2332g(a)(l); (4) conspiracy to provide

material support or resources to a foreign terrorist organization in violation of 18 U.S.C. §

2339B(a)(l); and (5) money laundering in violation of 18 U.S.C. § 1956(a)(3).

       Al Kassar claimed that the government manufactured jurisdiction when it "(1) first

approached defendants and suggested that they become involved in what was originally

represented to be an entirely legal arms deal involving other weapons...; (2) executed a "bait and

switch" by continuing to misrepresent the nature of the arms deal until after defendants had

agreed to the deal...; (3) only then approached defendant Al Kassar about buying surface to air

missiles after piquing his interest in an arms deal for other weapons..; (4) even then, produced the

enduser certificate that was critical to the deal's success." Id. at 492.

        The key difference between Al Kassar and the instant case is that Al Kassar did in fact

agree to provide weapons to a foreign terrorist organization and did so because he wanted the

weapons to be used in fights with American soldiers, thus, embracing and adopting the federal

elements. The facts alleged in the Al Kassar Indictment were consistent with the charges of

conspiracy to kill United States nationals and providing material support to a foreign terrorist

organization because the defendant's not only agreed to participate in the conspiracy created by

agents, they affirmatively furthered the United States connection.

        At least one critically important distinction between Al Kassar and the instant matter is

that even though the government introduced the federal element into the deal, Al Kassar took

"voluntary actions that implicate the federal elements]" of the charged crimes. He took active
        Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 10 of 16




steps towards consummating the sale of weapons that specifically involved the federal element,

including the receipt of laundered monies from New York.


       The differences between the actions taken by the defendants in AL-Kassar and the instant

case allow this court to determine that because of the manufactured federal element/jurisdiction,

the indictment should be dismissed.


          B. SURPLUSAGE MUST BE STRICKEN FROM THE INDICTMENT


       Federal Rule of Criminal Procedure 7(d) provides that "the court on motion of the

defendant may strike surplusage from the indictment or information. "A motion to strike

surplusage is only granted where it is clear that the alleged surplusage is not relevant to the crime

charged and is inflammatory and prejudicial." United States v. Hernandez, 85 F.3d 1023, 1030

(2dCir. 1996).


       This Indictment is replete with references to the TALIBAN, its history and policies.

Beyond the fact that the TALIBAN is a terrorist organization and listed as such in pertinent

American law, the balance of the language in the Indictment discussing the TALIBAN is

irrelevant to proof of the charges and should be stricken. This irrelevant language would create

unfair prejudice and mislead the jury, perhaps more so in the Southern District of New York, as

the TALIBAN is frequently equated with AL-QAEDA, the organization responsible for the

terrorist attack on the World Trade Center, and thus should be excluded pursuant to Rule 403 of

the Federal Rules of Evidence.
             Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 11 of 16




              C. DISCLOSURE PURSUANT TO FED. R. EVIDENCE 403 AND 404


        Pursuant to the Fifth and Sixth Amendments to the United States Constitution, Rule 16(a)

(1) (C) of the Federal Rules of Criminal Procedure and Rules 403 and 404(b) of the Federal

Rules of Evidence, we request that the government be directed to disclose all evidence of other or

similar crimes, wrongs or acts allegedly committed by any defendant upon which the government

intends to rely to prove motive, scheme, opportunity, intent, preparation, plan, knowledge,

identity or absence of mistake or accident. We request that notice of such evidence be provided

at least one month before trial so counsel has sufficient time to respond and defend against any

allegations.


                                        D. BRADY MATERIAL


        Wholly separate and apart from the above requests are the following demands made

pursuant to Kyles v. Whitely. 115 S. Ct. 1555 (1995), Brady v. Maryland, and its progeny,

including, but not limited to:


        a.       Any and all information within the knowledge of the government, or which should

                 be within its knowledge by the exercise of due diligence which may affect in any

                 way the credibility of any and all government's witnesses.


        b.       Any and all conversations, recorded or otherwise, wherein defendant's own

                 statements are exculpatory in nature (or any statements) of any defendant or

                 prospective witness.
       Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 12 of 16




        Whether any person to be called as a witness by the government is known, or with due

diligence could be known, by the government to:


       c.     Have been charged with a crime;


       d.     Have been convicted of crime;


       e.     Is or has been under psychiatric care or treatment;


       f.     Is or has been in drug or alcoholic abuse care or treatment. If the answer to any of

              the aforementioned is in the affirmative, identify the crime or substance and the

              treatment received with specificity as to time, place and duration.


       g.     Any and all records and information revealing prior criminal convictions or guilty

              verdicts or juvenile adjudications, including but not relevant to "rap sheets," of

              each witness the prosecutor intends to call at trial;


       h.     Any and all records and information revealing prior or subsequent misconduct,

              criminal acts or bad acts of any witness the prosecutor intends to call at trial;


       I.     Any and all information relating to State Court criminal cases in which the

              government's witnesses have been or are presently involved as defendants or

              witnesses, including any and all underlying documentation, i.e., docket number,

              indictment number, offenses charged, affidavits, etc.




                                                 10
     Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 13 of 16




j.       Pursuant to the mandates of United States v. Roviaro. 353 U.S. 53 (1957) and

         United States v. Saa. 859 F.2d 1067 (2d Cir. 1988), we would request that you

         make available all witnesses so that we may question them as to whether they will

         consent to be interviewed by us.


k.       Any and all consideration or promises of consideration given during the course of

         the investigation and preparation of this matter by any law enforcement officials,

         including prosecutors or agents, police or informers, to or on behalf of any

         witnesses the government intends to call at trial, or any such consideration or

         promises expected or hoped for by any such witness at any future time.


1.       Any and all statements - formal and informal, oral or written - by the prosecution,

         its agents and representatives to any person (including counsel for such persons)

         whom the prosecution intends to call as a witness at trial pertaining in any way to

         the possibility, likelihood, course or outcome of any government action - state or

         federal, civil or criminal - or immigration matters against the witness, or anyone

         related by blood or marriage to the witness. Provide copies of all letters of

         communication to prosecutors, judges, or other law enforcement agencies; the

         dates of all oral communications, the specific charges, indictments, etc., which

         those witnesses have pending.


m.       All proposed agreements with any witness to testify at any trial or before any

         grand jury including any drafts of such agreements to testify. All documents,

         reports, memoranda or correspondence, relating to any such proposed agreement

         to testify.


                                            11
 Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 14 of 16




n.   Any and all threats, express or implied, direct or indirect, or other coercion

     directed against any witness the prosecutor intends to call at trial; criminal

     prosecution investigations or potential prosecutions pending or which could be

     brought against any such witness; any probationary, parole deferred prosecution or

     custodial status of any such witness; and any civil, tax court, court of claims,

     administrative or other pending or potential legal disputes or transactions

     involving any such witness; and the state or federal government, or over which the

     state or federal government has real, apparent or perceived influence.


o.   The existence and the identification of each occasion on which a witness has

     testified before any court, grand jury, or other tribunal or body, or otherwise

     officially narrated in relation to the defendants, the investigation or the facts of

     this case.


p.   Any judicial proceedings in any criminal cases involving (as a witness, unindicted

     co-conspirator, co-schemer, aider or abettor, or defendant) any person who is a

     potential prosecution witness at the trial in this action.


q.   Any statements or documents, including, but not limited to, grand jury testimony

     and federal, state and local tax returns made or executed by and potential

     prosecution witness at the trial in this action which the prosecution knows, or

     through reasonable diligence, should have reason to know is false.


r.   The existence of each occasion on which a witness or an informer, accomplice,

     co-conspirator, co-schemer, or expert has testified before any court, grand jury or

     other tribunal body.

                                        12
     Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 15 of 16




s.       A copy of all medical and psychiatric reports known to the prosecutor or which

         can reasonably be known to the prosecutor concerning any witness the prosecutor

         intends to call at trial which may arguably affect the witness's credibility, ability to

         perceive or relate to recall events.


t.       Any written or oral statements, whether or not reduced to writing, made by any

         potential prosecution, witness which in any way contradicts or is inconsistent with

         or different from other oral or written statements he/she has made, and any

         statement made by any person, whether a witness or not, which in any way

         contradicts, or is inconsistent with or different from any statement made by a

         prosecution witness.


u.       Any requests prepared by the prosecution for permission to grant immunity or

         leniency for any witness, whether or not such request was granted.


v.       Any information given before the grand jury which exculpates, or tends to

         exculpate, any defendant, or which may lead to exculpatory evidence.


w.       Any contradictory or inconsistent statements made by or to any law enforcement

         agents, including prosecutors, by individuals who provided information connected

         to the crimes charged in this Indictment, whether or not the government intends to

         call such person at the trial. Specifically, any information that has been provided

         to the government or its' agents tending to indicating that an individual(s) other

         than the defendant committed the crimes for which he has been indicted.




                                            13
      Case 1:11-cr-00111-NRB Document 61 Filed 05/01/12 Page 16 of 16




                    CONCLUSION AND PRAYER FOR RELIEF


     For the reasons stated above Defendant Alwar Pouryan requests for the following relief:


     (1)    An Order dismissing the Indictment for lack of jurisdiction;


     (2)    An Order striking surplusage from the Indictment;


     (3)    An Order, pursuant to Fed. R. Evidence 403 and 404 requiring the government to

            disclose all evidence of other crimes, wrongs or acts intended to be used by the

            government at trial.;


     (4)    An Order, pursuant to Brady v. Maryland. 373 U.S. 83 (1963), and it progeny,

            directing the government to produce all information which tends to exculpate the

            defendant;


     (5)    An Order permitting the Defendant Alwar Pouryan to join in all motions of his co-

            defendants that are not inconsistent with th relief requested herein;


     (6)    An Order granting such other relief as this Court deems just and proper.




Date: May 1,2012



                                                          Lee Ginsberg




                                              14
